Case 1:18-cv-01227-STA-jay Document 13 Filed 03/21/19 Page 1 of 7           PageID 126
01129‐82496 
                            

     IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
            DISTRICT OF TENNESSEE EASTERN DIVISION

TRACY ARNOLD AND BILL ARNOLD

       Plaintiffs,

and
                                                      No. 1:18-cv-01227-STA-egb
v.

CITY OF CRUMP, LARRY
WILBANKS, RANDALL WARREN,
TIM KELLY, AND
GLEN SPENCER

       Defendants.


DEFENDANTS’ REPLY TO PLAINTIFFS’ RESPONSE OPPOSING THE
                  MOTION TO DISMISS


       In response to Defendants’ motion, the Arnolds make the following

arguments:

           (1) The continuing-violation doctrine applies so as to make this lawsuit
          timely (Arnolds’ Response at pp. 3-4 and 8-10 (R.E. No. 12, Page ID 107-
          108 and 112-114)),
          (2) The six-year period set out in Tenn. Code Ann. § 67-1-1501for the
          government to sue to collect privilege taxes establishes that the Arnolds’
          claim is timely (Id. at pp. 4-6 (Page ID 108-110)),
          (3) Under Tenn. Code Ann. § 28-1-105(a) the state could have
          recommenced the dismissed criminal charges; therefore, the Arnolds’ cause
          of action did not accrue until one year after the dismissal of the criminal
          charge (Id. at pp. 6-7 (Page ID 110-111)),
Case 1:18-cv-01227-STA-jay Document 13 Filed 03/21/19 Page 2 of 7               PageID 127
01129/82496 
                             

          (4) Enforcing laws regarding vehicle registration is, in effect, enforcing
          federal laws; thus, the local officials are federal agents (Id. at pp. 7-8 and 11-
          12 (Page ID 111-112 and 115-116)),

          (5) The state’s vehicle registration requirement is a badge or incident of
          slavery in violation of the Thirteenth Amendment (Id. at pp. 12-13 (Page ID
          116-117)),

          (6) The arrest of Ms. Arnold and the seizure of the van were unreasonable
          because the Arnolds are subject to a privilege tax (Id. at pp. 13-17 (Page ID
          117-121)),

          (7) The Arnolds rely on their complaint in response to the First
          Amendment and Fourteenth Amendment arguments (Id. at pp. 17-18 (Page
          ID 121-122)),

          (8) In support of their conspiracy claim, the Arnolds argue they are being
          singled out because of their religious beliefs (Id. at pp. 18-19 (Page ID 122-
          123)), and

          (9) The Arnolds say that they are not challenging the constitutionality of any
          Tennessee statute (Id. at pp. 19-20 (Page ID 123-124)).


      A. The continuing-violation doctrine does not apply to Tracy Arnold’s arrest
         or the towing of the Arnolds’ van.

      Contrary to the Arnolds’ argument, “the post-seizure retention of the [van]

does not give rise to a continuing violation.” Stanley v. Malone, 2009 WL 485491 at *6

(S.D.Ohio February 26, 2009, Holschuh, J.). The Arnolds’ cause of action accrued

when Tracy Arnold was arrested and the van was towed. Id. “It is the . . . seizure that

triggered this claim, even though the effects of [the seizure] may have continued into

the future. Courts must take note of ‘the subtle difference between a continuing

violation and a continuing effect of a prior violation.’” Herrin v. Dunham, 2008 WL

                                             2 
                             
Case 1:18-cv-01227-STA-jay Document 13 Filed 03/21/19 Page 3 of 7                 PageID 128
01129/82496 
                              

2718802 at *7 (E.D.Mich. July 10, 2008, Lawson, J.). Because the arrest and seizure

were more than one year before the Arnolds commenced this lawsuit, the statute of

limitations bars this action.

       B. The six-year period for state or local governments to commence an action
          to collect taxes has no effect on the accrual of the Arnolds’ § 1983 claims.

       Tennessee Code Annotated § 67-1-1501(a) requires suits for collection of taxes

to be filed within six years “from January 1 of the year for which such taxes accrued.”

Tenn. Code Ann. § 67-1-1501(a). This has nothing to do with the statute of

limitations that requires the Arnolds to file suit within one year of the accrual of their

constitutional claims.

       C. Tennessee Code Annotated § 28-1-105(a) applies to the recommencement
          of civil actions, not criminal cases.

       Tennessee Code Annotated § 28-1-105(a) provides that “if the action is

commenced within the time limited by a rule or statute of limitation, but the judgment

or decree is rendered against the plaintiff upon any ground not concluding the

plaintiff's right of action . . . the plaintiff . . . may . . . commence a new action within

one year . . . .” Tenn. Code Ann. § 28-1-105(a). “Action” as used in this statute

“includes motions, garnishments, petitions, and other legal proceedings in judicial

tribunals for the redress of civil injuries.” Tenn. Code Ann. § 28-1-101. This statute

does not apply to the state refiling criminal charges against Tracy Arnold. But even if

it did, the cause of action still accrued with the arrest and seizure.


                                              3 
                              
Case 1:18-cv-01227-STA-jay Document 13 Filed 03/21/19 Page 4 of 7                  PageID 129
01129/82496 
                              

       D. Neither the Fifth Amendment nor the Thirteenth Amendment applies to
          this case.

           1. The Fifth Amendment’s due process clause applies only to the federal
              government.

       The Arnolds’ argument about the applicability of the Fifth Amendment’s due

process clause to this case is frivolous. Arnolds’ Response at pp. 7-8 and 11-12 (Page

ID 111-112 and 115-116)). The Fifth Amendment applies to “the actions of the

federal government.” Scott v. Clay County, 205 F.3d 867, 873 n. 8 (6th Cir. 2000).

Because the federal government is not involved in this case, the Arnolds cannot state

a Fifth Amendment due process claim.

           2. The Arnolds have not stated a claim under the Thirteenth Amendment.

       The Arnolds’ response does not explain how the Thirteenth Amendment

applies to the alleged facts. It is through the amendment’s enabling clause that

Congress is empowered to determine “what are the badges and incidents of slavery.”

Jones v. Alfred H. Mayer Co., 392 U.S. 409, 440 (1968). “Whatever else [the badges and

incidents of slavery] may . . . encompass[ ] . . . [they] . . . include[ ] restraints upon

‘those fundamental rights which are the essence of civil freedom [that are] enjoyed by

white citizens.” Id. at 441. There are no factual allegations in the Arnolds’ Amended

Complaint from which the Court could reasonably infer that Defendants have

imposed the “badges and incidents of slavery” upon the Arnolds.




                                               4 
                              
Case 1:18-cv-01227-STA-jay Document 13 Filed 03/21/19 Page 5 of 7             PageID 130
01129/82496 
                             

       E. The Arnolds’ response does not overcome their failure to state a claim that
          the arrest of Tracy Arnold or the seizure of the van violates the Fourth
          Amendment.

       The Arnolds argue that the registration requirements are a privilege tax and

they have not agreed to engage in a privilege; therefore, the requirements do not apply

to them. Arnolds’ Response at pp. 13-17 (Page ID 117-121). “The ability to drive a

motor vehicle on a public highway is not a fundamental right. Instead, it is a revocable

privilege that is granted upon compliance with statutory licensing procedures.” State v.

Booher, 978 S.W.2d 953, 956 (Tenn.Crim.App. 1997). “State and local governments

possess an inherent power, i.e. police power, to enact reasonable legislation for the

health, safety, welfare, morals, or convenience of the public.” Id. It is through this

“police power that [the] legislature may prescribe conditions under which the

‘privilege’ of operating automobiles on public highways may be exercised.” Id.

       F. The Arnolds rely on their complaint in response to Defendants’ motion
          regarding the First and Fourteenth Amendments.

       Because the Arnolds rely on their complaint in response to Defendants’

arguments regarding the First and Fourteenth Amendments, there is no need for

Defendants to make additional arguments. Arnolds’ Response at pp. 17-18 (Page ID

121-122).




                                             5 
                             
Case 1:18-cv-01227-STA-jay Document 13 Filed 03/21/19 Page 6 of 7            PageID 131
01129/82496 
                            

      G. The Arnolds’ response does not show that they have stated a conspiracy
         claim.

      In support of their conspiracy claim, the Arnolds argue they are being singled

out because of their religious beliefs. Arnolds’ Response at pp. 18-19 (Page ID 122-

123). This is not enough to state a conspiracy claim. Because the conspiracy must be

motivated by a class-based animus, the Arnolds must allege facts showing that the

Defendants knew of the Arnolds’ religion. Ohio ex rel. Moore v. Brahma Investment Group,

Inc., 723 F.App’x 284, 288 (6th Cir. 2018). Therefore, the Arnolds have still not stated

a conspiracy claim.

      Conclusion

      In their response, the Arnolds have not shown that they have stated claims for

relief. Therefore, the Court should dismiss this action.



                                         Respectfully submitted,

                                         RAINEY, KIZER, REVIERE & BELL, PLC


                                                s/ Dale Conder, Jr.
                                         JOHN D. BURLESON, BPR #10400
                                         DALE CONDER, JR., BPR #15419
                                         MATTHEW COURTNER, BPR # 029113
                                         Attorneys for Defendants City of Crump, TN,
                                         Larry Wilbanks, Tim Kelly, and Glen Spencer
                                         209 East Main Street
                                         Jackson, TN 38301
                                         (731)423-2414
                                         jburleson@raineykizer.com
                                         dconder@raineykizer.com
                                            6 
                            
Case 1:18-cv-01227-STA-jay Document 13 Filed 03/21/19 Page 7 of 7             PageID 132
01129/82496 
                            


                           CERTIFICATE OF SERVICE

     I certify that on March 21, 2019, I electronically filed this document. Notice of this
filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing report. All other parties will be served by regular U.S.
mail. Parties may access this filing through the Court’s electronic filing system.

   Tracy Arnold                                  Randall Warren
   Bill Arnold                                   Warren’s Towing
   1400 Harris Road                              2305 U.S. Highway 64
   Adamsville, TN 38310                          Adamsville, TN 38310
   Via electronic filing system




                                                       s/ Dale Conder, Jr.




                                            7 
                            
